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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

  BOIM ET AL,

                Plaintiffs,
                                                  No. 22 CV 06085
           v.
                                                  District Judge Wood
  AMERICAN MUSLIMS FOR PALESTINE, ET
  AL.,                                            Magistrate Judge McShain

                Defendants.

                        REPORT AND RECOMMENDATION

        Telephonic motion hearing on Respondent Mosque Foundation a/k/a The
Bridgeview Mosque Motion to Quash [1] held on 09/22/2023. For the reasons stated
on the record, in accordance with 28 U.S.C. § 636 and Fed. R. Civ. P. 72(b)(1), the
undersigned respectfully recommends that the District Judge deny the Foundation’s
motion to quash [1]. The Foundation shall comply with this subpoena and make a
responsive production within 30 days after the time for filing objections to this Report
and Recommendation expires, or within 30 days after the District Judge resolves any
objections to the Report and Recommendation, whichever is sooner. The parties are
advised that any objection to this Report and Recommendation must be filed in
writing with the Clerk of the Court within fourteen days after service of a copy of this
Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2). Failure
to file a timely objection will constitute a waiver of objections on appeal. See Video
Views, Inc. v. Studio 21, Ltd., 797 F.2d 538, 539 (7th Cir. 1986).



                                        _____________________________________
                                        HEATHER K. McSHAIN
                                        United States Magistrate Judge


DATE: September 25, 2023
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   1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
   2                              EASTERN DIVISION

   3   STANLEY BOIM, et al.,                     )
                                                 )
   4                          Plaintiffs,        )
                                                 )   Case No. 22 CV 6085
   5   -vs-                                      )
                                                 )   Chicago, Illinois
   6   AMERICAN MUSLIMS FOR                      )   September 22, 2023
       PALESTINE, et al.,                        )   3:04 p.m.
   7                                             )
                              Defendants.        )
   8
                  TRANSCRIPT OF TELEPHONIC PROCEEDINGS - Motion
   9                BEFORE THE HONORABLE HEATHER K. McSHAIN

  10   APPEARANCES:

  11   For the Plaintiffs:          JASZCZUK P.C.
                                    BY: MR. DANIEL I. SCHLESSINGER
  12                                     MR. SETH CORTHELL
                                    311 South Wacker Drive
  13                                Suite 2150
                                    Chicago, IL 60606
  14
       For the Defendants:          CONSTITUTIONAL LAW CENTER FOR MUSLIMS
  15                                IN AMERICA
                                    BY: MS. CHRISTINA A. JUMP
  16                                100 North Central Expressway
                                    Suite 1010
  17                                Richardson, TX 75080

  18   For the Respondent:          ABDALLAH LAW
                                    BY: MR. ZAID ABDALLAH
  19                                15127 South 73rd Avenue
                                    Suite E
  20                                Orland Park, IL 60467

  21

  22   Court Reporter:              AMY M. KLEYNHANS, CSR, RPR, CRR
                                    Federal Official Court Reporter
  23                                United States District Court
                                    219 South Dearborn Street, Room 2318A
  24                                Chicago, IL 60604
                                    Telephone: (312) 818-6531
  25                                amyofficialtranscripts@gmail.com
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   1           (Proceedings heard via telephone:)

   2               THE CLERK:      Case No. 22 CV 6085, Boim, et al., versus

   3   the American Muslims for Palestine, et al., for motion

   4   hearing.

   5               THE COURT:      Good afternoon, counsel.

   6               Please state your appearance for the record,

   7   beginning with the plaintiff.

   8               MR. CORTHELL:       Seth Corthell appearing on behalf of

   9   Plaintiff Stanley and Joyce Boim.

  10               MR. SCHLESSINGER:        And, Your Honor, Daniel

  11   Schlessinger, also appearing on behalf of Mr. and Mrs. Boim.

  12               THE COURT:      Thank you.

  13               And for defendants, please.

  14               MS. JUMP:      Your Honor, this is Christina Jump.              We

  15   have not made an appearance in this particular matter, but we

  16   represent AMP, AJP, and Rafeeq Jaber.

  17               MR. ABDALLAH:       And, Your Honor, this is Zaid Abdallah

  18   on behalf of the Mosque Foundation.

  19               THE COURT:      Okay.    Thank you, everyone, for calling

  20   in.

  21               So as I indicated in a minute order setting today,

  22   this is a motion hearing.           And I'm also prepared to rule on

  23   the record today as well.

  24               I want to give both sides an opportunity, though, if

  25   there is anything additional you'd wish to place on the
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   1   record.

   2               I'll start -- just -- because this is a -- the -- a

   3   motion that's brought by the defendants, I'll start with the

   4   defendants -- Mr. Abdallah, if there is anything further that

   5   you want to put on the record -- and then I will give

   6   plaintiffs a chance to respond.            But please know I have read

   7   everything that's been submitted, both in support and

   8   opposition of the motion.

   9               Mr. Abdallah, anything -- I'm sorry -- yeah,

  10   Mr. Abdallah, anything further that you want to put on the

  11   record in support of the motion?

  12               MR. ABDALLAH:       Your Honor, if I was going to say

  13   anything, it would just be reiterating what Your Honor has

  14   already indicated that she read, so there's nothing

  15   additional.

  16               THE COURT:      Okay.    Thank you so much.

  17               From plaintiffs' perspective, Mr. Corthell and

  18   Mr. Schlessinger, anything else that you'd like to put on the

  19   record?

  20               MR. CORTHELL:       Nothing from us, Your Honor.

  21               THE COURT:      Okay.    Thank you.

  22               MR. CORTHELL:       This is Seth Corthell.

  23               THE COURT:      Thank you, Mr. Corthell.          I'm sorry.    I

  24   should have given you an opportunity to identify yourself.                  So

  25   thank you.
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   1               So I'm going to go ahead and place my ruling on the

   2   record.

   3               So pending before the Court is a motion by the Mosque

   4   Foundation, which is also known as the Bridgeview Mosque, to

   5   quash a subpoena served by Plaintiffs Stanley Boim and Joyce

   6   Boim.     The Foundation seeks an order quashing two requests in

   7   plaintiffs' subpoena:         First, copies of all minute meetings

   8   from 2000 to the present that identify the Foundation's

   9   officers and directors and their duties and responsibilities;

  10   and, two, to run a search on the Foundation's e-mail accounts

  11   and donor records for a list of 48 search terms, which are

  12   attached as an exhibit to the Foundation's reply -- to the

  13   Foundation's reply brief.           That's Docket 20-3 at Page 6.

  14               In resolving this motion, the Court observes that the

  15   Foundation adopted a document retention policy in 2013.                     See

  16   Docket 26-1 at Pages 16 to 17.            And there is apparently no

  17   dispute that documents predating 2013 are no longer available.

  18               For the following reasons, the undersigned recommends

  19   that the district judge deny the motion to quash as follows.

  20               First, let me put the standard of review on the

  21   record.

  22               So "Federal Rule of Civil Procedure 45(d)(3) governs

  23   motions to quash or modify a third-party subpoena.                  Upon a

  24   timely motion, Rule 45(d) mandates that the Court quash or

  25   modify a subpoena if the subpoena subjects a person to undue
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   1   burden."     I'm relying on the case of Roman v. City of Chicago,

   2   Case No. 20 CV 1717, 2023 WL 121765 at Page *1, Northern

   3   District of Illinois, January 6th, 2023.

   4               "It is up to the moving party to establish the

   5   impropriety of the subpoena."            And I'm relying on Roman for

   6   that proposition as well.

   7               "When determining whether the recipient of a subpoena

   8   is being subjected to an undue burden, courts consider a

   9   number of factors, including the person's status as a

  10   nonparty, the relevance of the discovery, the subpoenaing

  11   party's need for the discovery, the breach -- or -- I'm

  12   sorry -- the breadth of the request, and the burden imposed on

  13   the subpoenaed party."          I'm relying on the case Parker v. Four

  14   Season Hotel, Ltd., 291 F.R.D. 181, Page 1881, Northern

  15   District of Illinois 2013.

  16               "In considering these issues, magistrate judges

  17   'enjoy extremely broad discretion in controlling discovery.'"

  18   For that, I'm relying again on the Roman case at Page *1.

  19               Ordinarily, a motion to quash a subpoena is a routine

  20   discovery motion that presents a nondispositive matter, which

  21   a magistrate judge can determine de novo.               For that, see case

  22   Channelmark Corp. v. Destination Products International

  23   Incorporated, Case No. 99 C 214, 2000 WL 968818, at Page *1,

  24   Northern District of Illinois, July 7th, 2000.

  25               Even here, where the Foundation has opened a separate
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   1   case in which to challenge the subpoena, rather than filing it

   2   in the underlying case of Boim v. American Muslims for

   3   Palestine, et al., Case No. 17 CV 3591, a ruling on the motion

   4   to quash will not be determinative of plaintiffs' claims to

   5   relief in that suit and, therefore, does not present a

   6   dispositive matter.         However, given that the district judge

   7   has referred the Foundation's motion to the undersigned for --

   8   or to me for preparation of a report and recommendation at

   9   Docket 18, the following oral ruling on the Foundation's

  10   motion constitutes a report and recommendation under 28,

  11   United States Code, Section 636(b)(1)(B) and Federal Rule of

  12   Civil Procedure 72(b)(1).

  13               Let me now turn to the discussion -- to my discussion

  14   of the motion.       And I'm going to start first with the meeting

  15   minutes.

  16               The Foundation argues that plaintiffs' request for

  17   meeting minutes dating back to 2013 would subject it to an

  18   undue burden.       The Foundation adds that some of the minutes

  19   are stored in hard copy while others are stored electronically

  20   and that it does not have a dedicated record keeper.                   That's

  21   at Docket 26 at Page 2.

  22               The Foundation observes that plaintiffs' request

  23   would require it to redact ten years of meeting minutes

  24   because plaintiffs seek only the identities of the officers

  25   and directors.       That's Docket 26 at Page 3.
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   1               The Foundation contends that community members may be

   2   unlikely to volunteer to work for it if they know that the

   3   Foundation's meeting minutes may be produced during litigation

   4   in response to a subpoena.

   5               Finally, the Foundation notes that after being served

   6   with plaintiffs' subpoena, it searched its employee-issued

   7   e-mail accounts and donor records for 11 search terms that

   8   were listed in the subpoena -- see Docket 20-3 at Page 2 --

   9   and did produce responsive documents.

  10               Plaintiffs contend that the identities of the

  11   officers and directors is directly relevant to proving that

  12   the defendants in the underlying lawsuit, including American

  13   Muslims for Palestine, are the alter egos of the Islamic

  14   Association for Palestine, or IAP, a defendant in the original

  15   Boim litigation in which plaintiffs obtained a $156 million

  16   judgment.

  17               Plaintiffs contend that the Foundation functioned as

  18   a "source of competent personnel committed to the mission as

  19   well as ideological inspiration, direction, and consistency."

  20   I'm quoting from Docket 20 at Page 6.

  21               Regarding undue burden, plaintiffs contend that the

  22   Foundation's objection fails to demonstrate the nature and

  23   extent of the burden.

  24               In the exercise of its extremely broad discretion to

  25   control discovery, the Court finds that the Foundation has not
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   1   established that complying with plaintiffs' subpoena will

   2   impose an undue burden on it.

   3               Turning first to relevance.           First, there is no merit

   4   that the Foundation's argument that the evidence sought by

   5   plaintiffs is irrelevant and amounts only to a fishing

   6   expedition intended to harass the Foundation.

   7               To the contrary, the evidence is highly relevant to

   8   plaintiffs' allegations that the AMP is an alter ego of IAP

   9   and, thus, directly liable for the $156 million judgment in

  10   the original Boim case.

  11               In support of that relationship, plaintiffs have

  12   alleged that, first, the Foundation funded the IAP and a

  13   successor organization known as KindHearts, and that it now

  14   funds the AMP.       That's Docket Entry 179 at Paragraphs 110 to

  15   111.

  16               The Foundation's sheikh Jamal Said was "the ultimate

  17   religious authority for IAP/AMS" and "the religious leader of

  18   the community."        That's Docket Entry 179 at Paragraph 112.

  19   Said spoke regularly at IAP functions and does so for AMP

  20   functions as well according to the filing.

  21               Defendant -- second -- third, Defendant Rafeeq Jaber,

  22   a former president of IAP, became involved in the IAP through

  23   the Foundation.        He suggested that Zionist forces will work

  24   against AMP as they did against IAP, which implies an

  25   equivalence between the organizations.              That's Docket No. 179
Case:
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    1   at Paragraphs 114 and 116.

    2                And also, Abdelbasset Hamayel is a Foundation

    3   employee and has served as a temporary executive director of

    4   AMP for several years.           His salary is paid by the Foundation.

    5   That's Docket 179 at Paragraph 121.                He helped AMP start

    6   fundraising.       That's Docket 179, again, at Paragraph 121.

    7                Taken as true, these allegations and others in the

    8   first amended complaint establish a close relationship between

    9   the Foundation and both IAP and AMP.                It is, therefore,

  10    reasonable for plaintiffs to request the meeting minutes,

  11    which may establish that the Foundation works closely with

  12    other persons who were involved with IAP and are now involved

  13    with AMP.

  14                 Turning to the burden, the Foundation has not

  15    demonstrated that complying with the subpoena would impose an

  16    undue burden on it, even recognizing, as the Court does, that

  17    it is a nonparty to this suit.

  18                 The declaration of Oussama Jammal, the ex-officio

  19    member of the Foundation board of directors, in the Court's

  20    estimation, is purely conclusory.               It doesn't specify, for

  21    example, how often the board meets and, thus, the volume and

  22    meeting minutes that are at issue.

  23                 The Foundation's concerns about needing to redact the

  24    minutes can be averted by entering into a protective order

  25    with plaintiff.
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   1                Concerns about the subpoena production deterring

   2    community volunteers is speculative and also could be

   3    alleviated if the parties enter into a productive order

   4    governing the subpoena production.

   5                Turning next to the need for the evidence.               In

   6    addition, the plaintiffs have argued that there is a

   7    particular need to seek this information from the Foundation

   8    because IAP and AMP operated without regard for corporate

   9    formalities, and that AMP "operated as a loose, unstructured

  10    enterprise driven by a core group of like-minded individuals"

  11    that is "largely the same group that ran IAP."                I'm quoting

  12    from Docket 179 at Paragraphs 152 to 155.               The Foundation has

  13    not responded to this point.

  14                Considering these factors, the Court finds that

  15    complying with the subpoena and producing the meeting minutes

  16    will not subject the Foundation to an undue burden.                  The

  17    Court, therefore, recommends that the district judge deny the

  18    motion to quash the subpoena as to plaintiffs' request -- as

  19    to the plaintiffs' request for meeting minutes.

  20                Turning to the second item at issue in the subpoena,

  21    plaintiffs' search terms, the Foundation also argues that it

  22    should not be required to search its e-mail accounts and donor

  23    records for a list of 48 search terms proposed by plaintiffs.

  24                Having conducted an initial search of its e-mail and

  25    records for 11 of the search terms contained in plaintiffs'
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   1    subpoena, the Foundation contends that it should not have to

   2    undertake a second search.          The Court recommends that the

   3    district judge deny the motion to quash this part of the

   4    subpoena as well.

   5                First, although the Foundation has the burden to

   6    demonstrate that plaintiffs' subpoena is improper, its

   7    briefing makes no attempt to demonstrate how the plaintiffs'

   8    request is unduly burdensome.           Indeed, the Foundation has

   9    already searched its e-mails and donor records for some terms,

  10    so it's not clear why a more expansive search rises to an

  11    undue burden.

  12                Second, the Foundation simply asserts that the search

  13    terms at issue are irrelevant without attempting to

  14    demonstrate that this is in fact the case.               In any event, the

  15    search terms, many of which overlap with the entities at issue

  16    in plaintiffs' first subpoena requests, are clearly relevant

  17    to establishing whether AMP is an alter ego of IAP.

  18                Third, the undersigned observes that the Foundation

  19    has -- or the Court observes that the Foundation has not

  20    indicated any willingness to further meet and confer on the

  21    search terms, narrow -- try to narrow them, et cetera.                      In

  22    light of this, the undersigned has no reason -- or reasonable

  23    basis to order plaintiffs to narrow their search terms before

  24    ordering the Foundation to search the plaintiffs' terms.

  25                For these reasons, the Court recommends that the
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   1    district judge deny the Foundation's motion to quash the

   2    subpoena to the extent that it demands the Foundation to run

   3    plaintiffs' proposed search terms.

   4                In conclusion, in accordance with 28, United States

   5    Code, Section 636 and Federal Rule of Civil Procedure

   6    72(b)(1), the undersigned respectfully recommends that the

   7    district judge deny the Foundation's motion to quash.                  The

   8    Foundation shall comply with this subpoena and make a

   9    responsive production within 30 days after the time for filing

  10    objections to this report and recommendation expires or within

  11    30 days after the district judge resolves any objections to

  12    the report and recommendation, whichever is sooner.

  13                The parties are advised that any objection to this

  14    report and recommendation must be filed in writing with the

  15    Clerk of the Court within 14 days after service of a copy of

  16    this report and recommendation.

  17                And that's 28, United States Code, Section 636(b)(1)

  18    and Federal Rule of Civil Procedure 72(b)(2).                Failure to file

  19    a timely objection will constitute a waiver of objections on

  20    appeal.     For that, the Court relies on -- see -- or relies on

  21    Video Views, Inc. v. Studio 21, Limited, 797 F.2d 538 at

  22    Page 539, Seventh Circuit, 1986.

  23                With respect to what will follow, after this motion

  24    hearing ends, I will enter a minute order merely stating that

  25    the motion to quash is denied and restating the time period
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   1    for the production in line with the 14 days to file any

   2    objection to the Court's ruling.

   3                And if there are objections with respect to the

   4    Court's ruling, you can order a copy of the transcript with

   5    respect to the Court's findings.

   6                Is there anything else to cover at this time from

   7    plaintiffs' perspective?

   8                MR. CORTHELL:      This is Seth Corthell, Your Honor.

   9                I just wanted to clarify one part of your order.                You

  10    had mentioned that any concerns about redaction can be

  11    alleviated by entering a protective -- a confidentiality

  12    order.    We already have one with the defendants who are

  13    obviously not the Mosque Foundation, but I'm sure we could

  14    come to an agreement along those terms.              I just wanted to be

  15    -- make sure I understood.          Is the Court indicating that the

  16    meeting minutes should not be redacted and that they should

  17    just be subject to a protective order to protect -- to

  18    alleviate any of the Mosque Foundation's concerns?

  19                THE COURT:     My point was that if there are concerns

  20    that the redaction or the act of -- or the time that it would

  21    take to do redactions is too cumbersome, too burdensome, that

  22    the protective order would alleviate that because they could

  23    be produced without redactions subject to that order.

  24                However, you know, to the extent that the Foundation

  25    wants to redact, that's fine.           I was just trying to find
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   1    additional ways to alleviate burden.

   2                MR. CORTHELL:      Okay.    I suppose -- Your Honor, this

   3    is Seth again.

   4                My concern is that we've asked for meeting minutes

   5    that will identify directors and their job responsibilities.

   6    And if there's redactions, I believe that's going to create

   7    grounds for more dispute about what should have been redacted

   8    and what should not.

   9                So, therefore, I would take the position that the

  10    appropriate measure here should just be some sort of an

  11    agreement on confidentiality that both, you know, protects the

  12    information and any concerns the Mosque Foundation will still

  13    have but alleviate, you know, any future disputes about, you

  14    know, what information should be redacted and not redacted.

  15                MR. ABDALLAH:      Your Honor, this is Zaid Abdallah on

  16    behalf of the Mosque Foundation.

  17                I think counsel is putting the cart before the horse,

  18    Judge.

  19                THE COURT:     I'm sorry.      Mr. Abdallah, I'm having --

  20    you're -- could you slow down in your speech a little bit.

  21    And there is a little bit of an echo as well.                So I'm also

  22    just having difficulty hearing you.

  23                But could you just slow your speech down a little bit

  24    so I can -- and, again, I don't know if you're on a

  25    speakerphone, but maybe get closer to the speaker.
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   1                MR. ABDALLAH:      Again, I said I believe counsel is

   2    just putting the cart before the horse at this point,

   3    Your Honor.

   4                When we go ahead and produce everything, if it

   5    doesn't have the information that they wanted, I think at that

   6    point they could go ahead and, you know, make whatever

   7    objection they wanted to make.

   8                I mean -- but at this point, Your Honor, if we're --

   9    if we have to go ahead and produce the minutes, we will redact

  10    the contents of our meetings, which was -- that's not what's

  11    been requested.       The only documents that we have that would be

  12    responsive to their request in terms of Mosque Foundation

  13    board of directors and leadership is the minutes showing who

  14    is present and the titles of who is present, Judge.

  15                So I don't think it's appropriate for counsel to say,

  16    well, you know, what if we don't get the information we want,

  17    you know, we should enter into a protective order before then.

  18    He doesn't know what he is going to get.

  19                THE COURT:     Yeah, and to be frank, this was one of

  20    the concerns that the Court had.            So when you look at the

  21    request -- so copies of all meeting minutes that identify the

  22    Foundation's officers and directors and their duties and

  23    responsibilities, I can imagine that these meeting minutes

  24    have a lot of additional content in them that are not

  25    responsive to that limited request within the subpoena.                     So
Case:
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   1    I'm not going to manage what the Foundation does with respect

   2    to how they produce these documents.

   3                Again, when I had -- when the Court had in its ruling

   4    flagged the fact that a protective order would -- or could

   5    allay some of the concerns regarding burden as far as the

   6    scope of the redactions, that's one portion of what was

   7    intended as far as what the protective order could accomplish.

   8    But I'm not going to manage how the Foundation goes about

   9    producing these records as long as they are producing the

  10    information at issue in the subpoena; again, you know, the

  11    portions of these minute meetings that identify the

  12    Foundation's officers and directors and their duties and

  13    responsibilities.        And to the extent that there's

  14    nonresponsive information in these meeting minutes, the

  15    Foundation is free to redact that information.

  16                Is there anything further from the plaintiffs'

  17    perspective?

  18                MR. CORTHELL:      This is Seth Corthell, Your Honor.

  19                Nothing further.       Totally understand your position.

  20    Thank you.

  21                THE COURT:     Thank you.

  22                Mr. Abdallah, is there anything further from the

  23    defendants at this time?

  24                MR. ABDALLAH:      Your Honor, I just want to clarify

  25    with the Court.
Case:
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   1                So is the Court recommending that the Mosque

   2    Foundation search for terms like "terror," "suicide,"

   3    "Zionist," the term "Mosque Foundation," which is in every

   4    e-mail because it's -- they have it in their signature line,

   5    and "Galloway" and "Sarsour"?

   6                THE COURT:     So the time to have made these arguments,

   7    Mr. Abdallah, was in the motion.            And, you know, my read of

   8    this record is that, you know, after the Foundation did a

   9    search of the 11 search terms and when plaintiffs came back

  10    with the 48 search terms, the Foundation, you know, has not --

  11    or did not indicate any willingness to further meet and confer

  12    on the search terms to include -- to attempt to narrow them or

  13    have further discussions.

  14                And in addition, I -- as I already said in my ruling,

  15    the Foundation has the burden to demonstrate that the subpoena

  16    is improper.      And in the briefing with respect to the search

  17    terms, there is no attempt to demonstrate how this request is

  18    unduly burdensome.

  19                And, again, the fact that the Foundation did search

  20    for the 11 terms -- it's just not clear why a more expansive

  21    search rose -- or would rise to an undue burden.                 And, again,

  22    there is nothing in this record to reflect that, you know,

  23    there was a willingness or even an effort to meet and confer.

  24    There was just a hard stop from the Foundation to not do an

  25    additional search or to further engage on the search terms.
 Case:1:22-cv-06085
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   1                And -- so with the record before this Court -- and,

   2    again, the briefing does not go into specifics as to some of

   3    the search terms that you just called out, Mr. Abdallah.                    So

   4    based on the record before the Court, the Court's ordering the

   5    Foundation to search for all 48 terms.

   6                MR. ABDALLAH:      Okay.

   7                THE COURT:     Anything further, Mr. Abdallah?

   8                MR. ABDALLAH:      Nothing further, Your Honor.

   9                THE COURT:     Thank you very much for everyone's time

  10    on a Friday afternoon.         I very much appreciate it.          I hope you

  11    all have a good weekend.

  12                We'll go ahead and end the motion hearing.               Take

  13    care.

  14                MR. CORTHELL:      Thank you, Your Honor.

  15                MS. JUMP:     Thank you, Your Honor.

  16            (Which were all the proceedings heard.)

  17                                  *   *    *   *   *   *

  18                               C E R T I F I C A T E

  19          I certify that the foregoing is a correct transcript, to

  20    the extent possible, of the record of proceedings in the

  21    above-entitled matter, given the limitations of conducting

  22    proceedings via telephone.

  23

  24    /s/ Amy M. Kleynhans                               9/27/2023
        _______________________________                    _____________
  25    AMY M. Kleynhans, CSR, RPR, CRR                    Date
        Official Court Reporter
